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                                                                                 ORIGINAL
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Attorneys for Plaintiffs



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MONTANA
                                 MISSOULA DIVISION


JERROLD G. COOLEY, JOLEE                           cause NO.    C\r-
COOLEY, MICHAEL J. COOLEY, and             )
KAILEY COOLEY,
                                           1
                      Plaintiffs,

VS.                                                COMPLAINT AND JURY DEMAND

CITY OF MISSOULA, CITY OF    1
MISSOULA POLICE DEPARTMENT, )
MISSOULA COUNTY, MISSOULA
COUNTY SHERIFF'S DEPARTMENT, )
CHIEF WICKMAN. OFFICER
McCARTHY, OFFICER SERBA,     1
SERGEANT RICHARDSON, SHERIFF )
McMEEKIN, DEPUTY MEEDER,
DEPUTY WHITE, DEPUTY
STINEFORD,and DOES A-Z.

                      Defendants.



        Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983 and 1988, and state law. for

violation of Plaintiffs' federal and state constitutional, statutory, and common law rights. For

their complaint against the Defendants, Plaintiffs allege as follows:
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                              JURISDICTION AND VENUE

1.     Pursuant to 28 U.S.C. § 1331, this Court hasjurisdiction overthiscivil action because

      some of the claims arise under the Constitution and laws of the United States. The

      Court likewise has jurisdiction under28 U.S.C. § 1343 as Plaintiffs seek redress for

      the deprivation (under color of state law, statute, ordinance, regulation, custom, or

      usage) of their rights, privileges, and immunities secured by the Constitution of the

      United States andlor Acts of Congress.

2.    Pursuant to28 U.S.C. § 1367, this Court has supplementaljurisdiction over Plaintiffs'

      state law claims as they are so related to the claims in the action within the original

      jurisdiction that they form part of the same case or controversy.

3.    On November29,2005, Plaintiffsfiled AdministrativeClaimsagainstthe Defendants

      pursuant to 3 2-9-301(3), MCA. Defendants failed to issue a final disposition within

       120 days, thereby authorizing Plaintiffs to proceed with filing the present action.

4.    Venue is proper in the United States District Court forthe Districtof Montana, Missoula

      Division, because all of the acts and omissions alleged herein occurred within the

      District of Montana, morespecifically Missoula County, Montana, and oneor moreof

      the Defendants reside in the same.

                                        PARTIES

5.    Plaintiffs Jerrold Cooley, Jolee Cooley, and Kailey Cooley are, and were at all times

      relevant hereto, citizens of the United States and residents of Missoula, Missoula

      County, Montana.



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6.    Michael Cooley is, and was at all times relevant hereto, a citizen of the United States

      and resident of Missoula, Missoula County, Montana, currently attending college in

      Moses Lake, Washington.

7.    Defendants City of Missoula (hereinafter "City") and Missoula County (hereinafler

      "County") are political subdivisionsorganized and existing underthe lawsofthe State

      of Montana.

8.    Defendants City of Missoula Police Department (hereinafler "Police Department")and

      Missoula County Sheriff's Department (hereinafler "Sheriff's Department) are law

      enforcement agencies of the City and County.

9.    Defendants Missoula County Sheriff McMeekin and Missoula City Police Chief

      Wickman are believed to have been, atall times relevant hereto, residents of the State

      of Montana and duly appointed (or elected) and acting peace officers of the City,

      County, Police Department, andlor Sheriff's Department. Said Defendantsare being

      sued in their individual and official capacities.

10.   Defendants Officer McCarthy, Officer Serba, Sergeant Richardson, Deputy Meeder,

      Deputy White, and Deputy Stineford are believed to have been, at all times relevant

      hereto, residents of the State of Montana and duly appointed and acting peaceofficers

      of the City, County, Police Department, andlor Sheriffs Department. Said Defendants

      are being sued in their individual and official capacities.

11.   The true names and capacities of the Defendants named herein as Does A-Z,

      Inclusive, are unknown to Plaintiffs. Plaintiffs therefore bring this action against said

      Defendantsby such fictitious names. Plaintiffs will seek leave to amend this Complaint

                          -
COMPLAINT AND JURY DEMAND 3
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      and Jury Demand to state the true names and capacities of Does A-Z when the same

      have been ascertained, together with further appropriate charging allegations.

      Plaintiffs are informed and believe, and thereon allege that each of the fictitiously

      named Defendants may be legally responsible in some manner for the occurrences

      alleged herein, and that Plaintiffs' damages as herein alleged may have been

      proximately caused by said Defendants' unlawful actsoromissions. DefendantsDoes

      A-Z, Inclusive, are natural persons, peace officers, corporations, partnerships,joint

      ventures, governmental entities, political subdivisions, orother legal entities that may

      be legally liable for Plaintiffs' injuries and damages as hereinafter alleged.

12.   Each and every act, error, andlor omission attributable to the individual Defendants

      herein was committed within the scope of their duties of employment with the City,

      County, Police Department, and/or Sheriff's Department. Each and every act, error.

      andlor omission attributableto the individual Defendants isthus imputable to the City,

      County, Police Department, andlor Sheriff's Department. Each political subdivision

      herein is legally responsible to provide indemnification to the individual Defendants,

      and to pay all damages awarded herein, including punitive damages. in accordance

      with 5 2-9-305, MCA.

                               GENERAL ALLEGATIONS

13.   Plaintiffs hereby incorporate paragraphs 1-12 set forth above.

14.   On October 15, 2005, following a family birthday dinner at El Cazador South in

      Missoula, Montana, Plaintiffsand husband and wife Jerrold and Jolee Cooley boarded



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      the family GMC pick up truck with theirchildren, Plaintiffs Michael and Kailey C O O ~ ~ Y ,

      to return to the family's residence.

15.   At all times pertinent here, Plaintiffsacted lawfully and committed no act thatwould give

      rise to a lawful investigatorystop, search, seizure, or otherwisejustify an invasion and

      violation of their constitutional, statutory. and common law rights.

16.   Approximately two blocks from Plaintiffs' home, a law enforcement patrol vehicle

      approached from behindwith itsoverhead lights on. Jerrold Cooley properly stopped

      his vehicle and waited for the officer to make contact. Additional law enforcement

      officers arrived at the scene shortly thereafter, at which time a "high risk" stop and

      investigation was initiated by the officers.

17.   Using a loud speaker, an officer instructed Jerrold Cooley to exit the vehicle with his

      hands overhead and lift the collar of his shirt so they could visually inspect his

      waistband. At this juncture, Jerrold identified himself as a federal probation officer.

      With their guns drawn and pointed at Jerrold, the officers told him to "shut up" and

      instructed him to walk backwards toward their voices. Jerrold again identified himself

      as a federal probation officer, whereby the officers again barked at him to "shut up."

      The officers ultimately handcuffed Jerrold and placed him face down in the gravel.

      Jerrold witnessed three officers pointing guns at him in a "ready alert" position. As he

      again identified himself and inquired as to the reasonforthe stop and restraint. Jerrold

      was repeatedly ordered to "shut up."

18.   Theofficers proceeded to instruct Michael Cooley in similarfashion. Jerrold advised

      his son todo exactly whattheofficers said, whereby Jerrold was again threatened to

                          -
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       "shut up." Michael had recently undergone shoulder surgery. As such, Jerrold and

       Michaelrequested that he be handcuffed in front of his body. The officers refused this

       request, electingto cuff Michael's arms behind his back, and forcibly placing him face

       down in the gravel. Michael writhed in pain while Jerrold again attempted to

       communicate with the officers. With their guns trained on Jerrold and Michael, the

       officers repeatedly ordered Jerrold to "shut up." The officers maintained the

       appearance of lethal force and failed to de-escalate despite the removal of any

       perceived threat.

19.    The officers next instructed Jolee and Kailey Cooley toone-by-oneexitthevehicle in

       similar fashion. Jolee and Kailey were then handcuffed, restrained, and forcibly placed

       into separate patrol cars.

20.    The officers then conducted a search ofthe Cooley vehicle. Theofficers found nothing

       linking any of the occupants to a previously attempted and reported purse snatching.

       Finally, afterdetermining that Plaintiffs had nothingtodowith the pursesnatching, the

       officers released Plaintiffs from custody.

21.    During the ensuingdiscussion, an unmanned patrolcarthat has been negligently left

       in gear and/or not properly secured, rolled forward and rammed into the family's

       vehicle, resulting in significant property damage to the pick up truck.

22.    At all times pertinent hereto, Plaintiffswere innocent of any wrongdoing, unarmed, and

       lawfully engaging in peaceful activities.




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C O M P W N T AND JURY DEMAND 6
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                               FIRST CAUSE OF ACTION

                                     (42 U.S.C. § 1983)

23.   Plaintiffs hereby incorporate paragraphs 1-22 set forth above.

24.   The Fourth Amendment to the United States Constitution grants all United States

      citizens the right to be secure in their persons, houses, papers, and effects against

      unreasonable searches and seizures.

25.   The Fourteenth Amendmentto the United States Constitution grants all United States

      citizens the right to be free from deprivations of life, liberty, or property without due

      process of law.

         (Officer McCarthy, Officer Serba, Sergeant Richardson, Deputy

                    Meeder, Deputy White, and Deputy Stineford)

26.   On October 15,2005, Defendants, acting under color of state law, deprived Plaintiffs'

      of their rights prescribed by the Fourth and Fourteenth Amendments to the United

      States Constitution.

27.   On October 15,2005, Defendants, acting under color of state law, used excessive

      force to ( I ) detain Plaintiffs without probable cause or legal justification, (2) restrain

      Plaintiffs' liberty by means of physical force and/or show of authority, and (3) search

      Plaintiffs' persons and effects.

28.   The nature of the alleged crime did not merit the unlawful search and seizure andlor

      excessive use of force. At no time did Plaintiffs pose a threat to the safety of the

      ofticers or others, actively resist arrest, or attempt to evade arrest by flight. The



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      officers' search, seizure, and use of excessive force was not objectively reasonable

      under the facts and circumstances confronting them.

29.    Duringthe unlawful search, seizure, and useof excessive force, Defendants acted with

      gross negligence, amounting to deliberate indifference to Plaintiffs' safety and well

      being and established constitutional rights.

30.    Defendants' conduct violated clearly established statutoryor wnstitutional rights of

      which a reasonable person would have known.

                        (Chief Wickman and Sheriff McMeekin)

31.   Defendants Wickman and McMeekin set in motion a series of acts by others, or

      knowingly refused to terminate a series of acts by others, which they knew or

      reasonably should have known would cause others to violate Plaintiffs' constitutional

      rights.

32.   Defendants Wickman and McMeekin personally participated in the deprivation of

      Plaintiffs' constitutional rights orcaused such deprivationsto occur; enacted or ratified

      policies that resulted in the deprivation of Plaintiffs' constitutional rights; failed to

      properly train, supervise, andlor control law enforcement personnel which resulted in

      the deprivation of Plaintiffs' constitutional rights; and subsequently ratified such

      actionable conduct.

33.   Defendants Wickman and McMeekin acquiesced to the constitutional deprivations

      andlor exhibited a reckless or callous indifference to Plaintiffs' rights. Defendants

      Wickman and McMeekin knowingly refused to terminate the acts resulting in the

      constitutional deprivations.

                          -
COMPLAINT AND JURY DEMAND 8
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34.   Defendants Wickman and McMeekin failure to properly investigate and punish

      historical constitutional deprivations encouraging a culture of illegal searches,

      excessive use of force, and other constitutionaldeprivations. Such failures amounted

      to deliberate indifference to Plaintiffs' constitutional rights.

35.   The unlawful actions were set in motion by Defendants Wickman and McMeekin's

      actions and their actions and or inactions caused and/or contributed to the

      constitutional deprivations at issue.

36.   Defendants Wickman and McMeekin's conduct or inaction amounted to deliberate

      indifference to Plaintiffs' constitutional rights. The constitutional deprivations were

      affirmatively linked to the acts or omissions of said Defendants.

37.   DefendantsWickman and McMeekin's conduct violated clearly established statutory

      or constitutional rights of which a reasonable person would have known.

               (City of Missoula, City of Missoula Police Department,

             Missoula County, Missoula County Sheriff's Department)

38.   The City, Police Department, County, and Sheriff's Department established policies

      that caused the violation of Plaintiffs' constitutional rights under the Fourth and

      Fourteenth Amendments to the United States Constitution.

39.   The Defendants' committed the unlawful actions and constitutional deprivations

      pursuant to policy statements, ordinances, regulations, customs, standard operating

      procedures, or official decisions adopted and/or promulgated by the officers/officialS

      of the City, Police Department, County, and Sheriffs Department.



                          -
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40.   It is the policy, practice, andlor custom of the City, Police Department, County, and

      Sheriffs Department to negligently hire, employ, and retain law enforcementofficers.

      The negligent hiring, employment, and retention amounted todeliberate indifference

      to the rights of persons with whom law enforcement officers undertheir employ would

      come into contact with, including Plaintiffs.

41.   The City, Police Department, County, and Sheriff's Department were deliberately

      indifferent to and acted in conscious disregard for the need to train, supervise, and

      discipline law enforcement officers employed by them with respect to, inter alia,

      initiating and conducting investigatory stops, illegal searches, corroborating

      information relayed by citizen complaints, and the use of force.

42.   The policies adopted by the City, Police Department, County, and Sheriff's

      Department regarding training, supervision, and discipline amounted to deliberate

      indifference to Plaintiffs' constitutional rights.

43.   The individual(s)whoviolated Plaintiffs' constitutional rights was an official with final

      policy-making authority. Thus, the constitutional violations constituted acts of official

      governmental policies.

44.   Through the policies, ordinances, regulations, customs, or official decisions, the City,

      Police Department, County, and Sheriffs Department endorsed unreasonable

      searches and seizures and application of excessive force by its law enforcement

      officers. Law enforcementofficers employed by the City, Police Department, County,

      and Sheriff's Department, through custom and usage, engage(d) in persistent and

      widespread discriminatory practices that acquire the force of law.

                          -
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45.   The City, Police Department, County, and Sheriff's Department employed a policyof

       inaction or acquiescence relative to law enforcement misconductwhich amounted to

      afailure to protect Plaintiffs' constitutional rights. The inaction amounted to deliberate

      indifference as the connection between the need for more or different training,

      supervision, andlordiscipline and the likely constitutional deprivationswereobvious.

46.   The City, Police Department, County, and Sheriff's Department policies, ordinances,

       regulations, customs, or official decisions were the moving force behind Plaintiffs'

      constitutional violations.

47.   Each of the foregoing acts andlor omissions           (m 12-46), including the unlawful
      seizures, detentions, and excessive use of force, directly and proximately caused

      andlor contributed to Plaintiffs' constitutional deprivations, injuries, and damages.

                               SECOND CAUSE OF ACTION

          (Violation of Plaintiffs' Rights Under the Montana Constitution)

48.   Plaintiffs hereby incorporate paragraphs 1-47 set forth above.

49.   Plaintiffs have the following fundamental, inalienable rights under Montana's

      Constitution: the right to enjoy and defend their lives and liberties and seek safety,

      health, and happiness in all lawful ways (Article II, Section 3); the right to human dignity

      (Article II, Section 4); the right to individual privacy (Article II, Section 10); the rightto

      be secure in their persons, papers, homes, and effects from unreasonable searches

      and seizures (Article II, Section 11); the right not to be deprived of life, liberty, or

      propertywithout due processof law(Article II, Section 17); and the right to be free from

      cruel and unusual punishment (Article II, Section 22).

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COMPLAINT AND JURY DEMAND 11
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50.   Defendants' acts and omissions on, and leading up to, October 15, 2005, violated

      Plaintiffs' aforementioned constitutional rights.

51.   Plaintiffs have the right to certain unenumerated rights, including but not limitedto, the

      right to seek recourse against those who violate Plaintiffs' aforementioned

      constitutional rights (Article 11, Section 34); and the right tofull legal redress (Article II,

      Section 16).

52.   As a direct and proximate result of the violation of Plaintiffs' constitutional rights under

      the Montana Constitution, Plaintiffs suffered injury to their persons and property.

      resultingin damagesdescribed in greaterdetail below, to which they are entitled to full

      legal recourse and redress.

                                 THIRD CAUSE OF ACTION

                                         (Negligence)

53.   Plaintiffs hereby incorporate paragraphs 1-52 set forth above.

54.   Defendants owed Plaintiffs a duty of safety and care while engaged in the practice of

      maintainingthe peace. In carrying out their functions as law enforcement officers and

      entities, Defendants had to observe Plaintiffs' constitutional, statutory, and common law

      rights.

55.   Defendants violated Plaintiffs' constitutional, statutory, and common law rights and

      breached the duties owed as described more particularly herein. The violations

      accrued, in part, as a result of Defendants' negligent: investigation and investigatory

      stop; faulty reliance on a citizen complaint; search and seizure; use of excessiveforce;

      negligent training, supervision, and discipline; enactment, enforcement, and violation

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      of law enforcement policies and procedures; violation of Plaintiffs' constitutional,

      statutory, and common law rights; and negligent performance of official duties.

56.   As a direct and proximate result of Defendants' negligence, Plaintiffs suffered injuryto

      their persons and property, resulting in damages described in greater detail below.

                                FOURTH CAUSE OF ACTION

                                  (False Imprisonment)

57.   Plaintiffs hereby incorporate paragraphs 1-56 set forth above.

58.   Defendants unlawfully restrained Plaintiffs against theirwill, resulting in the deprivation

      of Plaintiffs' liberty of movement or freedom to remain in the place of their lawful

      choice.

59.   As a direct and proximate result of their false imprisonment, Plaintiffs suffered injury

      to their persons and property, resulting in damages described in greater detail below.

                                 FIFTH CAUSE OF ACTION

                                   (Assault and Battery)

60.   Plaintiffs hereby incorporate paragraphs 1-59 set forth above.

61.   Defendants intended such harmful oroffensivecontactwith Plaintiffs' persons, oran

      imminent apprehension of such contact. Defendants' actions resulted in harmful or

      offensive contact with Plaintiffs' persons andlor an apprehension of such contact.

      Defendants use of force exceeded that reasonably necessary to effectuate the

      investigatory stop.




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62.   Plaintiffs suffered injuriesand damages as a direct and proximate result of the harmful

      and offensive contact, andlor apprehension thereof, as described in greater detail

      below.

                               SIXTH CAUSE OF ACTION

                     (Negligent Infliction of Emotional Distress)

63.   Plaintiffs hereby incorporate paragraphs 1-62 set forth above.

64.   The negligent acts and omissions of Defendants caused serious or severe emotional

      distress to Plaintiffs. Plaintiffs' serious or severe emotional distress was a reasonably

      foreseeable consequence of Defendants' acts and omissions.

65.   As a direct and proximate resultof Defendants' negligent acts and omissions, Plaintiffs

      suffered damages on account of their serious or severe emotional distress.

                              SEVENTH CAUSE OF ACTION

                     (Intentional Infliction of Emotional Distress)

66.   Plaintiffs hereby incorporate paragraphs 1-65 set forth above.

67.   The intentional act and omissions of Defendants caused serious or severe emotional

      distress to Plaintiffs. Plaintiffs'seriousor severe emotional distress was a reasonably

      foreseeable consequence of Defendants' acts and omissions.

68.   As a direct and proximate result of Defendants' intentional acts and omissions,

      Plaintiffs suffered damages on account of their serious or severeemotional distress.

                               EIGHTH CAUSE OF ACTION

                              (Malicious Acts or Omissions)

69.   Plaintiffs hereby incorporate paragraphs 1-68 set forth above.

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      Plaintiffs' damages as herein alleged were caused by Defendants' malicious acts or

      omissions.

      Defendants knew of facts or intentionally disregarded facts that created a high

      probability of injury to Plaintiffs. Defendants deliberately proceeded to act with

      indifference to the high probability of injury to Plaintiffs.

      As a direct and proximate result of Defendants' intentional and malicious acts or

      omissions, Plaintiffs suffered damages as described in greater detail below.

                               NINTH CAUSE OF ACTION

                                    (Acting in Concert)

      Plaintiffs hereby incorporate paragraphs 1-72 set forth above.

      At all times pertinent hereto, the Defendants committedtortious acts, in concert with

      one another, in violation of Plaintiffs' constitutional,statutory, and common law rights.

      The Defendants, acting in concert, joined togetherto violate Plaintiffs'constitutional,

      statutory, and common law rights and encouraged the violations by participating

      therein, thus further aiding and abetting such tortious acts.

      The Defendants knew that the other participants' actions breached duties owed to

      Plaintiffs' and violated Plaintiffs' constitutional, statutory, and common law rights.

      Despite this knowledge, Defendants continued to offer substantial assistance or

      encouragement to the other participating tortfeasors.

      As a direct and proximate result of Defendants' concerted acts, Plaintiffs suffered

      damages as described in greater detail below.

      Defendants are jointly and severally liable for Plaintiffs' damages.

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                                COMPENSATORY DAMAGES

      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs suffered

      violations of their constitutional rights as set forth herein.

      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs suffered

      physical and mental pain and injuries, incurred medical expenses, and may incurfuture

      medical expenses.

      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs suffered

      serious or severe emotional distress.

      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs suffered

      from fright, humiliation, disgrace, embarrassment, impairment of reputation and

      standing in the community, and injury to character.

      As a direct and proximate result of Defendants' unlawful conduct, Plaintiffs suffered

      injury to property.

      As adirectand proximate resultof Defendants' unlawful conduct, Plaintiffs suffereda

      loss of their established course of life.

                                   PUNITIVE DAMAGES

      Plaintiffs have filed this cause of action against the law enforcement Defendants in their

      individual and official capacities.

      At all times pertinent hereto: (1) Defendantsexhibited a recklessor callousdisregard

      for Plaintiffs' constitutional, statutory, and common law rights, (2) Defendants

      intentionallyviolated federal law, andlor (3) Defendants' conduct was precipitated by



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      evil motive or intent. Accordingly, imposition of punitive damages is proper and

      warranted under42 U.S.C. § 1983.

87.    Defendants' unlawful acts and omissions were willful and/or reckless. Defendants

      deliberately proceeded to act with indifference to the high probability of injury. Such

      conductjustifies imposition of punitivedamages, under§§27-1-220 and -221, MCA,

      in a sufficient amount to punish Defendantsand to serve as a warning to other persons

      and legal entities similarly situated that conduct of the kind engaged in by these

      Defendants is unacceptable in our society and will not be tolerated.

                                    ATTORNEY FEES

88.   42 U.S.C. § 1988 provides that "[iln any action or proceeding to enforce a provision

      of [§ 19831.. .the court, in itsdiscretion, may allowthe prevailing party, otherthan the

      United States, a reasonable attorney's fee as part of the costs . . . ." Plaintiffs have

      brought this cause of action, in part, under 42 U.S.C. 5 1983. Accordingly, Plaintiffs

      may recover attorney fees incurred in prosecuting this cause of action pursuant to42

      U.S.C. § 1988.

89.   Under Montana law, Plaintiffsmay recoverattomeyfees incurred herein pursuant to the

      private attorney general doctrine as (1) Plaintiffs seek to vindicate strong and socially

      important public policy, (2) Plaintiffs will incur substantial burden given the necessity

      for private enforcement of this action, and (3) a large volume of people stand to benefit

      from Plaintiffs' efforts. See Montanans for Responsible Use of School Trust v. State

      ex re/. Bd. of Land Comm'rs, 1999 MT 263,296 Mont. 402,989 P.2d 800.



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                               DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand trial by jury on all issues so triable.

                                  PRAYER FOR RELIEF

      Wherefore, Plaintiffs pray for judgment against the Defendants as follows:

       1.     Damages in a reasonable amount to fully compensate Plaintiffsfor deprivation

              of constitutional rights;

      2.      Damages in a reasonable amount to fully compensate Plaintiffs for any past

              and future medical expenses;

      3.      Damages in a reasonable amount to fully compensate Plaintiffs for their past

              and future physical and mental pain and suffering;

      4.      Damages in a reasonable amount to fully compensate Plaintiffs for their past

              and future emotional distress.

      5.      Damages in a reasonable amount to fully compensate Plaintiffsforthe loss of

             their established course and way of life;

      6.      Damages in a reasonable amount to fully compensate Plaintiffs for their

              humiliation, lossof reputation and community standing, and injurytocharacter;

      7.      Damages in a reasonable amount to fully compensate Plaintiffsfortheir injury

             to and lost use of property;

      8.      Punitive damages in a sufficient manner to punish Defendants and serve as a

             warning toother similarly situated persons and entitiesthat such conductwill not

              be tolerated;

      9.     Attorney fees pursuant to 42 U.S.C.    5 1988;
                          -
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       10.   Attorney fees pursuant to the private attorney general doctrine;

       11.   Plaintiffs' costs, and disbursements incurred herein; and

       12.   Such other and further relief as the Court deems just and proper.

      DATED this //%ay         of May. 2006.

                                               LEWIS, SLOVAK & KOVACICH, P.C.



                                               By:
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                                                               d
                                                      Tom L. Lewis
                                                      P.O. Box 2325
                                                                         -
                                                      Great Falls, MT 59403
                                                      Attorneys for Plaintiffs




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    thc civil docket sheet. (SEE INSTRIICTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                                             I   DEFENDANTS
Jerrold G. Cooley, Jolee Cooley, Michael I. Cooley, and Kailey Cooley                                                              City of Missoula, City of Missoula Police Department, Missoula
                                                                                                                                   Countv...Missoula Countv Sheriffs Devament, el al.
       (b) County o f Residence o f F i n t Listed Plaintiff                         Missoula County, MT                           County o f R e r i d m c e o f Fin1 L i r ~ e dDefendant MissOula MT
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                                                                                                                                   Attorneys illffi>oun)

Tom L. Lewis, J. David Slovak, LEWIS. SLOVAK & KOVACICH. P.C.., Charles            -
                                                                                              E. McNeil: William L. Crowlev:
                                                                                                                          ,. Brendan J. Rohan
P.O. Box 2325, Great Falls, MT 59403; 406-761-5595
 11. BASIS OF JURISDICTION ( ~ ~ a c e a n . . x * l n ~ n e ~ ~ x ~ ~ n ~Ill.
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VII. REQUESTED IN                                  0 C H E C K IF THIS IS A C L A~..
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     COMPLAINT:                                             U N D E R P.R.C.P. 23                               $3,000,000.00                                              J U R Y DEMAND:                   a Yes       0 NO
vrlr. RELATED CASE(S)
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